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         In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 16-429V
                                     Filed: August 31, 2017
                                         UNPUBLISHED


    EDWARD MCMAHON,
                                                             Special Processing Unit (SPU); Joint
                        Petitioner,                          Stipulation on Damages; Influenza
    v.                                                       (Flu) Vaccine; Shoulder Injury
                                                             Related to Vaccine Administration
    SECRETARY OF HEALTH AND                                  (SIRVA)
    HUMAN SERVICES,

                       Respondent.


Maximillian J. Muller, Muller Brazil, LLP, Dresher, PA, for petitioner.
Althea Walker Davis, U.S. Department of Justice, Washington, DC, for respondent.

                              DECISION ON JOINT STIPULATION1

Dorsey, Chief Special Master:

        On April 4, 2017, petitioner filed a petition for compensation under the National
Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.,2 (the “Vaccine
Act”). Petitioner alleges that he suffered a shoulder injury related to vaccine
administration following the administration of the influenza vaccine on December 1,
2014. Petition at ¶¶ 3-4, 11; Stipulation, filed Aug. 31, 2017, at ¶ 1-2, 4. Petitioner
further alleges he received the vaccination in the United States, suffered the residual
effects of his injury for more than six months, and has never received compensation for
his injury, alleged as vaccine caused. Petition at ¶¶ 3, 11, 13; Stipulation at ¶¶ 3-5.
“Respondent denies that the flu vaccine caused petitioner’s left shoulder pain or any
other injury or his current disabilities.” Stipulation at ¶ 6.

       Nevertheless, on August 31, 2017, the parties filed the attached joint stipulation,
stating that a decision should be entered awarding compensation. The undersigned

1 Because this unpublished decision contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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finds the stipulation reasonable and adopts it as the decision of the Court in awarding
damages, on the terms set forth therein.

     Pursuant to the terms stated in the attached Stipulation, the undersigned
awards the following compensation:

                1. A lump sum payment of $70,000.00, the form of a check payable to
                   petitioner; and

                2. A lump sum of $1,457.60, representing compensation for satisfaction
                   of the University Family Care Medicaid lien, in the form of a check
                   payable jointly to petitioner and

                                       University Family Care
                                               c/o HMS
                                          P.O. Box 166559
                                       Irving, TX 75016-6559
                                          Case No.: 108191
                                         Attn: Patrice Davis

Stipulation at ¶ 8. This amount represents compensation for all items of damages that
would be available under 42 U.S.C. § 300aa-15(a). Id. Petitioner agrees to endorse
this payment to University Family Care.

       In the absence of a motion for review filed pursuant to RCFC Appendix B, the
clerk of the court is directed to enter judgment in accordance with this decision.3

IT IS SO ORDERED.

                                          s/Nora Beth Dorsey
                                          Nora Beth Dorsey
                                          Chief Special Master




3 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.

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